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13
                         IN THE UNITED STATES DISTRICT COURT
14
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
     WPENGINE, INC., a Delaware corporation,      Case No.: 3:24-cv-06917-AMO
16
                  Plaintiff,                      DECLARATION OF RAMADASS
17
                                                  PRABHAKAR IN SUPPORT OF
18         vs.                                    PLAINTIFF WPENGINE, INC.’S REPLY
                                                  IN SUPPORT OF ITS MOTION FOR
19 AUTOMATTIC INC., a Delaware                    PRELIMINARY INJUNCTION
   corporation; and MATTHEW CHARLES
20 MULLENWEG, an individual,                      Judge: Honorable Araceli Martínez-Olguín
                                                  Courtroom: 3, Oakland Courthouse
21                                                Hearing Date: November 26, 2024
                  Defendants.
                                                  Hearing Time: 10:30 a.m.
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                                                                      Case No. 3:24-cv-06917-AMO
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 1          I, Ramadass Prabhakar, declare as follows:

 2          1.     I am Senior Vice President and Chief Technology Officer at WPEngine, Inc.

 3 (“WPE”). I have personal knowledge of all the facts set forth in this declaration, and if called upon

 4 to do so by the Court, I could and would testify competently thereto.

 5                 Inaccuracies Regarding Defendants’ Blocking of WPE Customers
 6                                         From wordpress.org

 7          2.     As stated in my October 18, 2024 declaration, on September 25, 2024, I became

 8 aware that Matt Mullenweg, CEO of our competitor Automattic, had banned WPE customers who
 9 host their WordPress installations on WPE servers from accessing wordpress.org resources through

10 the WordPress administration panel, which includes downloading community developed themes

11 and plugins, including themes and plugins developed by WPE. This means that WPE customers

12 and users would no longer be able to install new plugins and themes from wordpress.org. This also

13 means that WPE’s customers and users would no longer be able to update from the administrative

14 panel their existing plugins (whether WPE plugins, or any other of the more than 50,000 plugins

15 hosted at the wordpress.org repository) and themes to address bugs and security vulnerabilities, or

16 add new functionality.

17          3.     In their opposition to WPE’s motion for preliminary injunction, Mr. Mullenweg and

18 Automattic state that “at no time was WP Engine or any third party prevented from accessing,

19 updating or downloading any WordPress software, themes or plugins.”               Opp. at 8 (citing

20 Abrahamson Decl. ¶¶ 10, 14). That statement is misleading. On September 26, 2024, and for part
21 of September 27, 2024, WPE customers and users were in fact blocked from accessing

22 wordpress.org resources through the WordPress administrative panel, including themes and plugins.

23 Although access was briefly restored on September 27, 2024, WPE customers and users were
24 blocked again on October 1, 2024, as described in more detail below. As Mr. Mullenweg himself

25 acknowledged in a September 27, 2024 blog post on wordpress.org, due to his actions, he has “heard

26 from WP Engine customers that they are frustrated that WP Engine hasn’t been able to make

27 updates, plugin directory, theme directory, and Openverse work on their sites.” This of course was

28 Mr. Mullenweg’s doing. Attached hereto as Exhibit E is a true and correct copy of a webpage I

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 1 caused to be printed out containing this post, located at https://wordpress.org/news/2024/09/wp-

 2 engine-reprieve/, dated September 27, 2024 and titled “WP Engine Reprieve.”

 3          4.     In their opposition to WPE’s motion for preliminary injunction, Mr. Mullenweg and

 4 Automattic state that WPE customers and users could still have manually downloaded each of their

 5 plugins/themes from wordpress.org and then manually uploaded those plugins to their websites.
 6 Opp. at 9 (citing Abrahamson Decl. ¶¶ 10-11, 14).           While technically not impossible, this

 7 “workaround” is impractical for many reasons. First, without access to wordpress.org—which

 8 supplies that data needed to notify users that a later version of a plugin is available—WPE users
 9 would not know that their plugins require updating. As a result, Defendants’ suggestion is not in

10 fact a workaround for practical purposes, and does not alleviate the harm WPE has suffered and

11 continues to suffer. Second, many WordPress users (including WPE users) are not aware that it is

12 possible to update a plugin in the manual way articulated by Mr. Mullenweg and Automattic because

13 almost all users have always relied on single-button-click updates through the administrative panel

14 which download plugins directly from wordpress.org and install them automatically, or automatic

15 updates which regularly download and install plugins from wordpress.org without any action by the

16 user. It is not surprising that most WordPress users install plugins in this automated way given that

17 this functionality is hardcoded into the WordPress core software and is recommended on the

18 “Updating WordPress” documentation page at wordpress.org:

19          Automatic Background Updates

20          For WordPress 3.7+, you don’t have to lift a finger to apply minor and security updates.
21          Most sites are now able to automatically apply these updates in the background. If your site

22          is capable of one-click updates without entering FTP credentials, then your site should be

23          able to update from 3.7 to 3.7.1, 3.7.2, etc. (You’ll still need to click “Update Now” for
24          major feature releases.)

25          One-click Update

26          WordPress lets you update with the click of a button. You can launch the update by clicking

27          the link in the new version banner (if it’s there) or by going to the Dashboard > Updates

28          screen. Once you are on the “Update WordPress” page, click the button “Update Now” to

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 1           start the process off. You shouldn’t need to do anything else and, once it’s finished, you will

 2           be up-to-date.

 3           One-click updates work on most servers. If you have any problems, it is probably related to

 4           permissions issues on the filesystem.

 5 Attached hereto as Exhibit F is a true and correct copy of a webpage I caused to be printed out,
 6 located at https://wordpress.org/documentation/article/updating-wordpress/, which is a post on

 7 wordpress.org titled “Updating WordPress” described above. Nowhere on the wordpress.org

 8 website does it recommend using the manual uploading mechanism. The “Plugin and themes auto-
 9 updates” documentation page states that: “If you are running WordPress 5.5 or more and those

10 [update] controls are still unavailable, it probably means the feature was partially or completely

11 deactivated by your hosting company or by a plugin.” Attached hereto as Exhibit O is a true and

12 correct        copy   of   a    webpage      I    caused     to   be     printed    out,   located     at

13 https://wordpress.org/documentation/article/plugins-themes-auto-updates/, which is a post on

14 wordpress.org titled “Plugin and themes auto-updates.” Nowhere does the wordpress.org website

15 state that this functionality may be compromised by Mr. Mullenweg blocking access to

16 wordpress.org.

17           5.      Third, many WPE users manage many websites, each of which may use several

18 dozen plugins and themes, making this manual update process so onerous and time consuming that

19 it’s not a true workaround to the blocking of wordpress.org. It is like saying that a person can walk

20 from San Francisco to Los Angeles, rather than fly or drive. While it is technically correct, it is
21 impractical if not impossible to do so.

22                 WPE’s Mirror Does Not Redress the Harm to WPE and Its Customers

23           6.      As explained in my prior declaration, on September 27, 2024, in reaction to public
24 outcry, Mullenweg announced that he was temporarily restoring WPE’s access to wordpress.org,

25 but not permanently. Instead, he stated that he would block access again on October 1, 2024. He

26 blocked WPE’s access to wordpress.org again on October 1, 2024. In anticipation of that event,

27 WPE created a partial “mirror” of the plugin and theme repositories at the wordpress.org website to

28 help alleviate the disruptions that WPE users and customers would face by Mullenweg’s renewed

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 1 blocking. WPE’s partial mirror has only focused on making the latest version of plugins and themes

 2 from wordpress.org available to its customers.

 3          7.     In their opposition to WPE’s motion for preliminary injunction, Automattic and Mr.

 4 Mullenweg state that WPE users and customers are not being harmed because WPE has deployed a

 5 “solution that fully restored its regular workflow practices,” by creating this mirror of
 6 wordpress.org. Opp. at 8 (citing Xu Decl. ¶ 7). This too is incorrect. Among other things, the

 7 “solution” only applies to WPE customers and not WPE itself. WPE remains forced to operate a

 8 dramatically irregular workflow in order to provide a limited workaround to Defendants’ harmful
 9 actions blocking updates to plugins from the administrative panel, and WPE also remains unable to

10 support and maintain its owned plugins and themes hosted at wordpress.org. Regarding the

11 workflow for WPE customers, Defendants’ argument is contradicted by Mr. Mullenweg’s own

12 statements, as he represented on his blog that WPE’s mirror is “slower than core’s” and shouldn’t

13 be touched “with a ten-foot pole,” meaning that Mr. Mullenweg himself believes WPE’s mirror is

14 an inferior workaround to the plugin, theme, and core update directories hosted on wordpress.org.

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19 Attached hereto as Exhibit G is a true and correct copy of a webpage I caused to be printed out,

20 located at https://wordpress.org/news/2024/10/spoon/, which contains the blog post discussed above
21 on the wordpress.org website. Defendants have also sent solicitations to our customers stating that

22 “WP Engine’s access to WordPress.org has been restricted, which could impact sites, especially

23 regarding plugin and theme installations or updates that are sourced directly from the WordPress.org
24 repository.” Dkt. No. 20 ¶ 29 (Teichman Decl.).

25          8.     Furthermore, WPE’s mirror of wordpress.org has several significant limitations, by

26 design and as dictated by wordpress.org’s own procedures. First, wordpress.org throttles the rate

27 at which third parties can download its content. As a result, creating and updating a mirror can often

28 take several days. Second, wordpress.org limits the data that it makes available to WPE. For

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 1 example, while WPE is able to download the source code for WordPress plugins and themes hosted

 2 on wordpress.org, it does not make available to WPE critical information about plugins, such as

 3 ratings, reviews, and download and installation counts, which is often important information for

 4 WordPress users to assess the trust and reliability of a WordPress plugin. Third, if Mr. Mullenweg

 5 decides to make any minor changes to the function or content of wordpress.org, it could break
 6 WPE’s process in creating and updating its mirror. Given that Mr. Mullenweg has promised further

 7 attacks on WPE, it is not out of the question that Defendants may—among other things—make

 8 changes to the function or content of wordpress.org to intentionally harm WPE.              Fourth,
 9 wordpress.org does not notify WPE when plugins and themes on wordpress.org are updated, and

10 thus need to be downloaded to WPE’s mirror. As a result, it is possible that WPE’s mirror could go

11 out of sync with wordpress.org, leaving WPE customers without critical security patches, or

12 otherwise access to updates. Fifth, wordpress.org explains that “[t]he latest version of WordPress

13 is always available from the main WordPress website at https://wordpress.org. Official releases are

14 not available from other sites — never download or install WordPress from any website other than

15 https://wordpress.org” (emphasis in original). Attached hereto as Exhibit H is a true and correct

16 copy of a webpage I caused to be printed out, located at https://developer.wordpress.org/advanced-

17 administration/security/hardening/, which is an article on the developer portal of the wordpress.org

18 website. This admonition on wordpress.org about “official” releases and updates may dissuade

19 users from relying on a mirror not maintained by and available on wordpress.org. In summary,

20 wordpress.org has not been built in a way to allow third-parties to reliably create a mirror of it,
21 making the process of creating a mirror tedious, risky and unreliable.

22               Inaccuracies Regarding Defendants’ Blocking of WPE From Accessing Plugin

23                           Listings And Developer Resources On wordpress.org
24          9.     As described in my opening declaration, in addition to blocking WPE customer

25 access to wordpress.org from their administrative panel, Defendants also blocked WPE software

26 developers from the plugins that they have developed and host on wordpress.org. In their opposition

27 to WPE’s motion for preliminary injunction, Automattic and Mr. Mullenweg state that WPE “has

28 full control of its own repository of its own plugins.” Opp. at 10 (citing Abrahamson Decl. ¶¶ 14-

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 1 15). This is misleading and incorrect. As noted above, Mr. Mullenweg and Automattic have

 2 blocked WPE’s access to wordpress.org, cutting off its ability to update those plugins in any way,

 3 including fixing the description and code.

 4           10.       Mr. Mullenweg and Automattic also state that WPE can host all of its plugins on its

 5 own website at https://wpengine.com/solution-center/plugins/. However, this makes no sense. The
 6 WordPress software is hardcoded to download plugins from wordpress.org using the administrative

 7 panel. This means that that the WordPress core software code contains instructions to the user’s

 8 computer such that the WordPress administrative panel can only download plugins from
 9 wordpress.org.           The WordPress administrative panel is also hardcoded to interact with

10 wordpress.org for the purpose of detecting updates to plugins and installing updates. Overall,

11 wordpress.org is referenced over 1,500 times in the core WordPress code. Attached hereto as

12 Exhibit         P   is    a   true   and    correct   copy    of   a     post   on   X    located    at

13 https://x.com/joeydi/status/1849070363335864732 that I caused to be printed out. This instruction

14 to download plugins from wordpress.org (and only wordpress.org) cannot be changed without

15 modifying the core WordPress code, something that a typical WordPress user that is not hosted by

16 WPE is unable to easily do. Plugin users who are not paying WPE hosting customers, and therefore

17 not protected by WPE’s partial mirror solution, would have no idea to look to WPE’s website to

18 download updates to the plugins. And WPE would have no way to notify these plugin users of the

19 availability of updates because WPE does not know the identity of users who have previously

20 downloaded its plugin for free from wordpress.org.
21           11.       Finally, by being blocked from wordpress.org, WPE does not have access to the

22 software developer community, including community-based support forums, that use wordpress.org

23 to communicate. Defendants do not appear to dispute this or suggest there is a viable workaround
24 for WPE. By being blocked from the developer community, WPE cannot communicate with

25 WordPress developers to notify them of bugs or security issues with WPE plugins, provide support,

26 respond to requests for feature updates, or discuss future updates. This materially impacts WPE’s

27 ability to provide the best WordPress experience possible for the users of its plugins.

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 1           Inaccuracies Regarding Defendants’ Claims Concerning WPE’s ACF Plugin

 2          12.    As stated in my October 18, 2024 declaration, WPE is the developer of one of the

 3 most popular WordPress plugins called Advanced Custom Fields (ACF). When installed on a

 4 website built using WordPress, this plugin extends the functionality of WordPress to allow

 5 WordPress to collect and store additional types of information and essentially function as a fully-
 6 featured content management system, a major enhancement of functionality. As explained in the

 7 Brunner Declaration of October 18, 2024, WPE acquired the ACF plugin and its developer team

 8 through the acquisition of another company. Dkt. No. 21 ¶ 63 (Brunner Decl.). For many years the
 9 ACF plugin was hosted at the webpage https://wordpress.org/plugins/advanced-custom-fields/, and

10 maintained and updated by WPE and its team of ACF developers.

11          13.    On October 12, 2024, without WPE’s consent, Defendants effectively took over

12 WPE’s ACF plugin by editing the ACF plugin code and listing page in several ways. For example,

13 Mr. Mullenweg changed the name of the plugin from “Advanced Custom Fields” to “Secure Custom

14 Fields” (“SCF”). Mr. Mullenweg also changed the name of the author of the plugin from “WP

15 Engine” to “WordPress.org.” Because Mr. Mullenweg blocked WPE from wordpress.org, WPE has

16 no ability to fix these issues, or to upload new versions of the ACF plugin to wordpress.org.

17          14.    Defendants publicly stated that they took over the ACF plugin hosting page because

18 of an alleged security vulnerability in the plugin. This is not credible. As explained in the Brunner

19 Declaration, on October 4, 2024, Automattic sent an email notification about a minor security

20 vulnerability with the ACF plugin to WPE and copied Mr. Mullenweg and WPE’s CEO, Heather
21 Brunner. See Dkt. No. 21 (Brunner Decl.), Ex. H at 1. Mr. Mullenweg states that it was the

22 “Wordpress security team” who notified WPE of this security vulnerability. See Opp. at 6 (citing

23 Mullenweg Decl. ¶¶ 45-46). This too is false. It was Mr. Mulllenweg’s for-profit company, the
24 “Automattic Security Team,” who emailed WPE about the alleged security vulnerability. See Dkt.

25 No. 21-8 (email from “Automattic Security Team” (security@automattic.com) to acf-

26 security@wpengine.com)). The email also indicated that “[i]f we don’t receive a response from you

27 within the next 5 business days, we may need to reach out to the Marketplace where your extension

28 is published for further assistance in fixing the issues we have found.” Id. The next 5 business days

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1 from October 4, 2024 would have been October 11, 2024. The supposed vulnerability was minor

2 and WPE released a security update on October 7, 2024, within 72 hours of receiving the security

3 notification – well before the arbitrary deadline Automattic imposed.

4              15.       In their opposition to WPE’s preliminary injunction motion, Mr. Mullenweg

5 and Automattic claim that “WP Engine never responded to that [security vulnerability] disclosure.”
6 Opp. at 6 (citing Mullenweg Decl. ¶ 45). That is incorrect. WPE promptly responded on October

7 7 via Slack with a security patch within 72 hours of the notice.

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     Attached hereto as Exhibit I is a true and correct copy of a series of Slack messages between WPE
25
     employee Liam Gladdy and Samuel Wood I caused to be printed out. The “Otto” referred to in this
26
     chat is Samuel Wood, who works with Mr. Mullenweg at his venture capital firm Audrey Capital.
27
     Attached hereto as Exhibit J is a true and correct printout of Mr. Wood’s profile on wordpress.org
28
     (https://profiles.wordpress.org/otto42/), showing that his username on Slack is @otto. Attached

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 1 hereto as Exhibit K is a true and correct printout of Mr. Wood’s LinkedIn profile

 2 (https://www.linkedin.com/in/samwood/), which lists Mr. Wood as “Tech Ninja” for Audrey

 3 Capital.

 4            16.    WPE could not submit a security patch for ACF directly to wordpress.org because

 5 Mr. Mullenweg had blocked WPE’s access to wordpress.org. So WPE sent the security patch to
 6 Mr. Wood, who uploaded the security patch to wordpress.org as a new release. After submitting

 7 this security patch, we never heard from Automattic or Mr. Mullenweg again about this security

 8 vulnerability.
 9            17.    On October 5, 2024, just one day after Automattic’s security team sent the

10 vulnerability notification, Mr. Mullenweg wrote a post on the X social media website stating: “What

11 are the best alternatives to Advanced Custom Fields @wp_acf for people who want to switch away?

12 Is there an easy way to migrate? I suspect there are going to be millions of sites moving away from

13 it    in    the   coming    weeks.”      See   Dkt.     No.   18-11    (Jenkins   Decl.   Ex.   11).

14 (https://x.com/photomatt/status/1842500184825090060). No where in that post did Mr. Mullenweg

15 state that there were security issues with the ACF plugin.

16            18.    Mr. Mullenweg also now states that “[w]hile WP Engine did update the version of

17 ACF hosted on the WP Engine website to patch the disclosed vulnerability, a review of that patch

18 by the WordPress security team indicated that the patch was incomplete.” Opp. at 6 (citing

19 Mullenweg Decl. ¶ 45). This is also false. The vulnerability that Automattic disclosed to WPE was

20 fixed in its entirety.
21            19.    As for the true reason Defendants took the ACF plugin from WPE, what we know is

22 that Mr. Mullenweg publicly stated on October 13, 2024, in response to a post about the ACF plugin

23 being misappropriated by Defendants, that WPE would be “welcome to have access to the plugin
24 directory listing” back “[i]f WP Engine dropped its lawsuits, apologized, and got in good standing

25 with its trademark use.” See Dkt. No. 18-25 (Jenkins Decl. Ex. 26). Mr. Mullenweg’s statement

26 did not mention anything about supposed security vulnerabilities in ACF or an incomplete patch.

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11 Dkt. No. 18-25 (Jenkins Decl. Ex. 26). (https://x.com/WordPress/status/1845663751342883195).

12         20.     Mr. Mullenweg claims that the “WordPress security team forked [the ACF plugin],

13 and named that fork SCF.” Opposition at 6 (citing Mullenweg Decl. ¶ 46). Mr. Mullenweg further

14 states “[f]orking—where a developer creates a separate and independently developed version of an

15 existing open-source project—is a common practice in the open-source software community and is

16 how the WordPress software originated.” Opposition at 6 (citing Mullenweg Decl. ¶ 47). As I

17 explained in my prior declaration, Defendants’ taking of WPE’s ACF plugin was not a true fork.

18 Based on my experience in the software industry, “forks” of open source software are common. But

19 in a “fork,” a software developer will create a new copy of the code and host that code on a new

20 website or URL so there is no confusion between the original software and the new “forked”
21 software. The newly forked software would initially have no reviews, ratings, or download history.

22 This is not what happened here, where Mr. Mullenweg co-opted the ACF listing page (i.e., its URL

23 “slug”), and its users and reviews, and caused many ACF users’ websites to download the SCF
24 software without their knowledge or consent. The WordPress community has expressed shock and

25 condemnation of what Defendants did in taking ACF from WPE, including ACF’s download counts

26 and customer reviews and ratings. Attached are some of the public comments from WordPress

27 community members and open source leaders expressing their outrage:

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 1             •   “The most recent escalation, and, in my opinion, the most unhinged, is the
 2                 expropriation of the ACF plugin. Automattic first answered WPE's lawsuit by
 3
                   blocking engineers from the latter from accessing the WordPress.org plugin registry,
 4
                   which is used to distribute updates and security patches. It then used the fact that
 5
                   WPE no longer had access to the registry to expropriate the plugin, including reviews
 6

 7                 and download stats!! The ACF entry now points to Automattic’s own Secure Custom

 8                 Fields . . . For a dispute that started with a claim of "trademark confusion", there’s

 9                 an incredible irony in the fact that Automattic is now hijacking users looking for
10                 ACF onto their own plugin. And providing as rational for this unprecedented breach
11
                   of open source norms that ACF needs maintenance, and since WPE is no longer able
12
                   to provide that (given that they were blocked!), Automattic has to step in to do so. I
13
                   mean, what?! . . . Weaponizing open source code registries is something we simply
14

15                 cannot allow to form precedence. They must remain neutral territory. Little

16                 Switzerlands in a world of constant commercial skirmishes.”

17
     Attached hereto as Exhibit L is a true and correct copy of a webpage I caused to be printed out,
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19 located at https://world.hey.com/dhh/open-source-royalty-and-mad-kings-a8f79d16, which is dated

20 October 13, 2024 and is a blog post titled “Open source royalty and mad kings.”
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17           •   “Open source theft? On 13 October, Automattic CEO and WordPress Foundation

18               owner, Matt Mullenweg, announced the ‘forking’ of Advanced Custom Fields in the
19
                 WordPress Slack. The response was universally negative. . . . But this is not true:
20
                 Automattic did fork the plugin, which they have the right to do, and replaced the
21
                 plugin in the plugin directory, and are migrating 2M+ ACF customers silently onto
22
                 this fork – that is now called Secure Custom Fields. . . . Sadly, it seems that
23
24               Automattic has thrown away unwritten but valuable ethics in an effort to hit WP

25               Engine where it hurts. But leveraging a supposedly neutral platform (the WordPress
26               plugin manager) should not be the way to win in business – at least not in open
27
                 source. . . . Automattic will forever be associated with being the first in crossing an
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1                   ethical red line in open source web software: commandeering another team's actively

2                   maintained plugin, using a nonprofit foundation to orchestrate a pre-meditated attack,
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                    and ignoring ethics of open source. All in the name of trying to harm their biggest
4
                    competitor. Automattic: it’s time to play fair.”
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6 Attached hereto as Exhibit M is a true and correct copy of a webpage I caused to be printed out,

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     located at https://blog.pragmaticengineer.com/did-automattic-commit-open-source-theft/, which is
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     a blog post on a website titled “Did Automattic commit open source theft?”
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                •   “If you’re on Mullenweg’s side, you would say that they ‘forked’ Advanced Custom
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                    Fields, which would be a legitimate action under the GPL. However, I called it a
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 1                 takeover because there’s one huge difference between what Mullenweg did and what

 2                 a fork does. Rather than forking ACF’s codebase and creating a new, standalone
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                   plugin, Mullenweg opted to actually take over the Advanced Custom Fields plugin
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                   at WordPress.org and rename it to Secure Custom Fields. Here’s the biggest issue
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                   with that, in my opinion: If a user automatically updates Advanced Custom Fields
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                   through their WordPress dashboard, the plugin will change to Secure Custom Fields,
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 8                 which kind of makes it seem more like a malicious supply chain attack than a ‘fork.’

 9                 The new Secure Custom Fields plugin is also continuing to use the Advanced Custom
10                 Fields slug, which technically violates Rule 17 of the WordPress.org plugin
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                   directory.”
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13 Attached hereto as Exhibit N is a true and correct copy of an article on a webpage that I caused to

14 be printed out, located at https://wpshout.com/mullenweg-takes-over-advanced-custom-fields,

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     which is a blog post on a website which is dated October 15, 2024 and titled “Mullenweg and Co.
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     Take Over the Advanced Custom Fields Plugin.”
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1         I declare under penalty of perjury that the foregoing is true and correct. Executed on

2 November 4, 2024, in Sofia, Bulgaria.

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                                                Ramadass Prabhakar
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1                                          ATTESTATION

2         I, Rachel Herrick Kassabian, am the ECF user whose ID and password are being used to

3 file the above Declaration. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Ramadass

4 Prabhakar has concurred in the aforementioned filing.

5                                                  By /s/ Rachel Herrick Kassabian
                                                      Rachel Herrick Kassabian
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